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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

     Civil Action No.:

     STEVEN WALTERS,

                    Plaintiff,

     v.

     MEDICREDIT, INC., a Missouri corporation d/b/a The Outsource Group,

                    Defendant.


                                           COMPLAINT


                                          JURISDICTION

     1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. §

            1692k(d).

     2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

            Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                                  VENUE

     3.     Venue is proper in this Judicial District.

     4.     The acts and transactions alleged herein occurred in this Judicial District.

     5.     The Plaintiff resides in this Judicial District.

     6.     The Defendant transacts business in this Judicial District.

                                             PARTIES

     7.     Plaintiff Steven Walters is a natural person.
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     8.    The Plaintiff resides in the City of Aurora, County of Arapahoe, State of

           Colorado.

     9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

     10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d

           preface.

     11.   Defendant Medicredit, Inc. d/b/a The Outsource Group is a Missouri

           corporation operating from an address at 3620 I-70 Drive SE, Suite C,

           Columbia, Missouri, 65201.

     12.   The Defendant’s registered agent in the state of Colorado is The

           Corporation Company, 1675 Broadway, Suite 1200, Denver, Colorado,

           80202.

     13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. §

           1692a(6).

     14.   The Defendant is licensed as a collection agency by the state of Colorado.

     15.   The principal purpose of the Defendant is the collection of debts using the

           mails and telephone.

     16.   The Defendant regularly collects or attempts to collect, directly or indirectly,

           debts owed or due or asserted to be owed or due another.

     17.   The Defendant regularly collects or attempts to collect, directly or indirectly,

           debts owed or due or asserted to be owed or due another that arose out of

           transactions in which the money, property or services which are the subject

           of the transactions are primarily for personal, family or household purposes.



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                                FACTUAL ALLEGATIONS

     18.   Sometime before 2014 the Plaintiff allegedly incurred financial obligations

           that were primarily for personal, family and household purposes namely

           amount(s) due and owing on personal medical accounts owed to Medical

           Center of Aurora (hereinafter collectively referred to as the “Account”).

     19.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

     20.   The Account went into default with the original creditor.

     21.   After the Account went into default the Account was placed or otherwise

           transferred to the Defendant for collection, Defendant’s file #’s 37102274

           and 41595678.

     22.   The Account was placed or otherwise transferred to the Defendant for

           collection.

     23.   The Plaintiff disputes the Account.

     24.   The Plaintiff requests that the Defendant cease all further communication

           on the Account.

     25.   The Defendant’s collector(s) were employee(s) of the Defendant at all

           times mentioned herein.

     26.   The Defendant acted at all times mentioned herein through its

           employee(s).

     27.   In the year prior to the filing of the instant action the Plaintiff and the

           Defendant had telephone conversation(s) regarding the Account.




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     28.   The telephone conversation(s) in the year prior to the filing of the instant

           action between the Plaintiff and the Defendant regarding the Account

           conveyed information regarding the Account directly or indirectly to the

           Plaintiff.

     29.   The telephone conversation(s) in the year prior to the filing of the instant

           action between the Plaintiff and the Defendant regarding the Account each

           constituted a “communication” as defined by FDCPA § 1692a(2).

     30.   In July 2014 the Plaintiff had telephone conversation(s) regarding the

           Account with the Defendant via its employee(s).

     31.   During the telephone conversation(s) in July 2014 between the Defendant

           and the Plaintiff regarding the Account the Defendant via its employee

           informed the Plaintiff that the Defendant had the Account and stated the

           balance due on the Account.

     32.   During the telephone conversation(s) in July 2014 between the Plaintiff

           and the Defendant regarding the Account the Plaintiff disputed the

           Account.

     33.   During the telephone conversation(s) in July 2014 between the Plaintiff

           and the Defendant regarding the Account the Plaintiff disputed the

           Account with the Defendant.

     34.   During the telephone conversation(s) in July 2014 between the Plaintiff

           and the Defendant regarding the Account the Plaintiff informed the

           Defendant that that Account is disputed.



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     35.   During the telephone conversation(s) in July 2014 between the Plaintiff

           and the Defendant regarding the Account the Plaintiff notified the

           Defendant that that Account is disputed.

     36.   The Defendant was aware that the Account was disputed in July 2014.

     37.   The Defendant had knowledge that the Account was disputed in July

           2014.

     38.   After July 2014 the Defendant communicated information regarding the

           Account, including the name of the original creditor on the Account and

           the balance due on the Account, to Experian, a credit reporting agency.

     39.   After July 2014 when the Defendant communicated information regarding

           the Account, including the name of the original creditor on the Account

           and the balance due on the Account, to Experian the Defendant did not

           communicate to Experian that the Account is disputed.

     40.   The information regarding the Account communicated to Experian by the

           Defendant after July 2014 conveyed information regarding the Account

           directly or indirectly to Experian.

     41.   The information communicated to Experian by the Defendant after July

           2014 on the Account constituted a “communication” as defined by FDCPA

           § 1692a(2).

     42.   The Defendant communicated the information regarding the Account after

           July 2014 to Experian in connection with the collection of the Account.




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     43.   After July 2014 the Defendant communicated information regarding the

           Account, including the name of the original creditor on the Account and

           the balance due on the Account, to Equifax, a credit reporting agency.

     44.   After July 2014 when the Defendant communicated information regarding

           the Account, including the name of the original creditor on the Account

           and the balance due on the Account, to Equifax the Defendant did not

           communicate to Equifax that the Account is disputed.

     45.   The information regarding the Account communicated to Equifax by the

           Defendant after July 2014 conveyed information regarding the Account

           directly or indirectly to Equifax.

     46.   The information communicated to Equifax by the Defendant after July

           2014 on the Account constituted a “communication” as defined by FDCPA

           § 1692a(2).

     47.   The Defendant communicated the information regarding the Account after

           July 2014 to Equifax in connection with the collection of the Account.

     48.   After July 2014 the Defendant communicated information regarding the

           Account, including the name of the original creditor on the Account and

           the balance due on the Account, to Transunion, a credit reporting agency.

     49.   After July 2014 when the Defendant communicated information regarding

           the Account, including the name of the original creditor on the Account

           and the balance due on the Account, to Transunion the Defendant did not

           communicate to Transunion that the Account is disputed.



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     50.   The information regarding the Account communicated to Transunion by

           the Defendant after July 2014 conveyed information regarding the Account

           directly or indirectly to Transunion.

     51.   The information communicated to Transunion by the Defendant after July

           2014 on the Account constituted a “communication” as defined by FDCPA

           § 1692a(2).

     52.   The Defendant communicated the information regarding the Account after

           July 2014 to Transunion in connection with the collection of the Account.

     53.   In August 2014 the Defendant communicated information regarding the

           Account, including the name of the original creditor on the Account and

           the balance due on the Account, to Experian, a credit reporting agency.

     54.   In August 2014 when the Defendant communicated information regarding

           the Account, including the name of the original creditor on the Account

           and the balance due on the Account, to Experian the Defendant did not

           communicate to Experian that the Account is disputed.

     55.   The information regarding the Account communicated to Experian by the

           Defendant in August 2014 conveyed information regarding the Account

           directly or indirectly to Experian.

     56.   The information communicated to Experian by the Defendant in August

           2014 on the Account constituted a “communication” as defined by FDCPA

           § 1692a(2).




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     57.   The Defendant communicated the information regarding the Account in

           August 2014 to Experian in connection with the collection of the Account.

     58.   In August 2014 the Defendant communicated information regarding the

           Account, including the name of the original creditor on the Account and

           the balance due on the Account, to Equifax, a credit reporting agency.

     59.   In August 2014 when the Defendant communicated information regarding

           the Account, including the name of the original creditor on the Account

           and the balance due on the Account, to Equifax the Defendant did not

           communicate to Equifax that the Account is disputed.

     60.   The information regarding the Account communicated to Equifax by the

           Defendant in August 2014 conveyed information regarding the Account

           directly or indirectly to Equifax.

     61.   The information communicated to Equifax by the Defendant in August

           2014 on the Account constituted a “communication” as defined by FDCPA

           § 1692a(2).

     62.   The Defendant communicated the information regarding the Account in

           August 2014 to Equifax in connection with the collection of the Account.

     63.   In August 2014 the Defendant communicated information regarding the

           Account, including the name of the original creditor on the Account and

           the balance due on the Account, to Transunion, a credit reporting agency.

     64.   In August 2014 when the Defendant communicated information regarding

           the Account, including the name of the original creditor on the Account



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           and the balance due on the Account, to Transunion the Defendant did not

           communicate to Transunion that the Account is disputed.

     65.   The information regarding the Account communicated to Transunion by

           the Defendant in August 2014 conveyed information regarding the

           Account directly or indirectly to Transunion.

     66.   The information communicated to Transunion by the Defendant in August

           2014 on the Account constituted a “communication” as defined by FDCPA

           § 1692a(2).

     67.   The Defendant communicated the information regarding the Account in

           August 2014 to Transunion in connection with the collection of the

           Account.

     68.   Upon information and belief in 2014 the Defendant regularly reported

           information on Account(s) that it was attempting to collect to Experian

           and/or Equifax and/or Transunion.

     69.   Upon information and belief in 2014 the Defendant regularly reported

           information on Account(s) that it was attempting to collect from individuals

           residing in the state of Colorado to Experian and/or Equifax and/or

           Transunion.

     70.   Upon information and belief in 2014 the Defendant reported information to

           Experian and/or Equifax and/or Transunion on Account(s) that it was

           attempting to collect from over 100 individuals residing in the state of

           Colorado.



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      71.   On information and belief the Defendant made a audio recording

            and/or audio recording(s) of its telephone conversation(s) with the

            Plaintiff regarding the Account in July 2014.

      72.   On information and belief the Defendant has a copy and/or copies

            of the audio recording(s) of its telephone conversation(s) with the

            Plaintiff regarding the Account in July 2014.

      73.   On information and belief the Defendant made audio recording(s) of

            some of its telephone conversation(s) with the Plaintiff regarding

            the Account in the year prior to the filing of the instant action.

      74.   On information and belief the Defendant has a copy or copies of

            some of the audio recording(s) of its telephone conversation(s) with

            the Plaintiff regarding the Account in the year prior to the filing of

            the instant action.

      75.   On information and belief the Defendant made audio recording(s) of

            all of its telephone conversation(s) with the Plaintiff regarding the

            Account in the year prior to the filing of the instant action.

      76.   On information and belief the Defendant has a copy and/or copies

            of the audio recording(s) of all of its telephone conversation(s) with

            the Plaintiff regarding the Account in the year prior to the filing of

            the instant action.

      77.   On information and belief the Defendant’s copies of the audio

            recording(s) of its telephone conversation(s) with the Plaintiff



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            regarding the Account in the year prior to the filing of the instant

            action substantiate the Plaintiff’s allegations in this action.

      78.   On information and belief the Defendant has electronic record(s)

            and/or computer record(s) and/or paper copy(s) of the information

            that it provided to Experian and/or Equifax and/or Transunion

            regarding the Account in 2014.

      79.   The Defendant did not communicate to Experian that the Account is

            disputed on or before September 10, 2014.

      80.   The Defendant did not communicate to Equifax that the Account is

            disputed on or before September 10, 2014.

      81.   The Defendant did not communicate to Transunion that the

            Account is disputed on or before September 10, 2014.

      82.   The Defendant’s statement(s) and/or action(s) and/or omission(s)

            constitute false and/or deceptive and/or misleading representation(s)

            and/or mean(s) and violate FDCPA 1692e preface and/or e(2)(A) and/or

            e(8) and/or e(10).

      83.   Credit reporting constitutes an attempt to collect a debt. See, e.g., Rivera

            v. Bank One, 145 F.R.D. 614, 623 (D.P.R. 1993)(a creditor’s report of a

            debt to a consumer reporting agency is a “powerful tool, designed, in part,

            to wrench compliance with payment terms from its cardholder”); Matter of

            Sommersdorf, 139 B.R. 700, 701 (Bankr.S.D. Ohio 1991); Ditty v.

            CheckRite, Ltd., 973 F.Supp. 1320, 1331 (D.Utah 1997).



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      84.   “The Act is a strict liability statute; violations of the Act do not need to be

            intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

            F.Supp.2d 836, 840 (D.Az. 2011).

      85.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only

            demonstrate “one violation of its provisions” to be entitled to a favorable

            judgment.” Doshay v. Global Credit and Collection Corporation, 796

            F.Supp.2d 1301, 1304 (D.Colo. 2011).

      86.   As a consequence of the Defendant’s action(s) in the year prior to

            to filing of the instant action, the Plaintiff seeks damages pursuant

            to FDCPA § 1692k.

                                 COUNT I, FDCPA VIOLATION

      87.   The previous paragraphs are incorporated into this Count as if set forth in

            full.

      88.   The statement(s) and/or act(s) and/or omission(s) of the Defendant

            constitute a violation of the FDCPA § 1692e preface and/or e(2)(A) and/or

            e(8) and/or e(10).

      89.   Pursuant to FDCPA § 1692k the Plaintiff seeks damages,

            costs and reasonable attorney's fees.




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                                  DEMAND FOR RELIEF

      WHEREFORE, the Plaintiff requests that the Court grant the following:

      1.   Judgment in favor of the Plaintiff and against the Defendant.

      2.   Damages pursuant to 15 U.S.C. § 1692k(a).

      3.   Reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k(a)(3).

      4.   Costs pursuant to 15 U.S.C. § 1692k(a)(3).

      5.   Post Judgment Interest.

                                              Respectfully submitted,

                                              _s/ David M. Larson        __________
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